10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

rASe a B8-ev-00012-S Wa Document 1-2

HERMAN LAW

5200 Town Center Circle, Suite 540
Boca Raton, Florida 33486

Jeff Herman

(pending pro hac vice admission)
Daniel Ellis

California Bar No. 298639
dellis@hermanlaw.com

Arick Fudali

California Bar No. 296364
afudali@hermanlaw.com

Tel: (305) 931-2200

Fax: (305) 931-0877

Attorneys for Plaintiff, Dominique Huett

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

 

Filed 07/10/1gmPage 1of13 Page ID #:5

Superior Co
urt of .
Ounty of Los Anatomia

Sherr;
Fe ct
Gomez Deputy

 

 

York.

hh
4.

he
=>
—
wad

 

DOMINIQUE HUETT, CASE NO B C 6 8 08 6 ;
Plaintiff, CIVIL COMPLAINT ALLEGING
VS. DAMAGES FOR NEGLIGENCE
THE WEINSTEIN COMPANY LLC, DEMAND FOR JURY TRIAL
Defendant.
PARTIES AND JURISDICTION
1. Plaintiff Dominique Huett is a citizen and resident of New York.

2. Defendant The Weinstein Company LLC (hereinafter referred to as “TWC”) is a

Delaware limited liability company whose principle place of business is in New York, New

3. Venue properly lies in this county in that Defendant regularly conducts business

in this, county, and the torts described herein were committed in this county. This Court has

CIVIL COMPLAINT

 

FAX FILE
ay Case 2:18-cv-06012-SVW-MRW Document 1-2 Filed 07/10/18 Page 2of13 Page ID #:6

2 =

J
sme SOAs
o. Wo om
.
a we
“er _
wy
m
rr
os i fr
3 fr~  e
x my - mh
pee “ood a
2 = a i
as any ow
we ae BE ne ms
wt

#

DATE PAID: 4
PAYMENT

F

ASH
“HAN
ARG

f

ry a

“HE

LEA SDEFS
ECEIVED

 

 

 

 

Oy

LOCA rc

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

hase B18 0v-00012-SVWeaY Document 1-2 ried 07 Orage ese 30f13 Page ID

jurisdiction in that this is a claim for damages of not less than $5 million, well in excess of the
jurisdictional minimum of $25,000.

FACTUAL ALLEGATIONS

 

4. In or about November 2010, Plaintiff Dominique Huett and Harvey Weinstein
arranged to meet each other at The Peninsula Beverly Hills hotel in Beverly Hills, California.
Plaintiff was an aspiring actress at the time and the purpose of the meeting was to discuss
Weinstein’s offer to assist Plaintiff in procuring future television and/or film roles. The
communications to arrange this meeting included e-mails from the e-mail address of
Weinstein’s assistant at TWC.

5. Plaintiff and Weinstein initially met at the bar of The Peninsula hotel, where they
discussed Weinstein’s interest in assisting Plaintiff with her acting career. During their
conversation, Plaintiff noticed Weinstein staring at her breasts. Weinstein asked Plaintiff is she
had ever had a “boob job” and asked her to show him her breasts. Plaintiff refused and was
made uncomfortable by the question and the request. However, Weinstein informed Plaintiff
that the purpose of the questioning was that it would be beneficial for securing future roles if
she did not have breast augmentation.

6. At some point during their conversation, Weinstein, who was at the time living at
the hotel, invited Plaintiff to his room under the guise of continuing their business meeting.
Plaintiff agreed to move the meeting to his hotel room, believing they were to continue their
discussion regarding her career.

7. While in Weinstein’s room, the two continued their conversation regarding
Plaintiff's career. At some point, Weinstein excused himself to use the restroom. After several
minutes, Weinstein returned from the restroom wearing only a bathrobe.

ho

bo

hr 2? -
2 CIVIL COMPLAINT
mend

 

 

#:7
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

ase 2:18-cv-06012-SVW ew ‘Document 1-2. Filed orn oteree’ 4of13 Page ID

8. Upon returtiing, Weinstein asked Plaintiff to perform a massage on him. Plaintiff
said, “No,” and that she did not feel comfortable by his request. However, Weinstein persisted
and would not take “no” for an answer. Weinstein laid on the bed and demanded that Plaintiff
perform a massage on him. Plaintiff ultimately complied with his demands and performed the
massage.

9. Subsequently, Weinstein requested to perform oral sex on Plaintiff. Plaintiff was
shocked and alarmed by the request and initially refused. Again, Weinstein displayed
persistence and would not take “no” for an answer. Weinstein initiated and Plaintiff froze as
Weinstein removed her clothing and performed oral sex on her. Weinstein performed oral sex
on Plaintiff for several minutes. After performing oral sex on Plaintiff, Weinstein masturbated
in front of Plaintiff until he reached orgasm.

10. At some point during their communications, Weinstein gave Plaintiff the contact
information for an executive producer with Project Runaway, a television program produced by
Defendant, and offered to secure a role for Plaintiff on the program.

11. ‘Prior to the incident involving Plaintiff, Defendant TWC’s executives, officers
and employees had actual knowledge of Weinstein’s repeated acts of sexual misconduct with
women. In particular, Defendant was aware of Weinstein’s pattern of using his power to coerce
and force young actresses to engage in sexual acts with him. This knowledge was possessed by
Defendant’s Board of Directors including, upon information and belief, Bob Weinstein.

12. Upon information and belief, Defendant was aware of allegations of sexual
misconduct against Weinstein going back to the 1990s. Upon information and belief, prior to
the incident involving Plaintiff, Defendant was aware of multiple claims of sexual misconduct

iad
=
ne

f=

m2 -3-

=o

— CIVIL COMPLAINT

mad

#8

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

ase. 2:18-cv-06012-SVW agi Document 1-2 Filed or oltegPese 5o0f13 Page ID

which were settled with the victimis prior to the filing of suit. This knowledge was possessed by
Defendant’s Board of Directors including, upon information and belief, Bob Weinstein.

13. Prior to the incident involving Plaintiff, Defendant often aided and abetted
Weinstein in the commission of his sexual misconduct. For example, female Weinstein
Company employees were often used as “honeypots” to lure his victims into a false sense of
security. The “honeypots” would initially join a meeting along with a woman Weinstein was
interested in, but then Weinstein would dismiss them, leaving him alone with the woman.

14. Plaintiff did not discover, and a reasonable and diligent investigation would not
have disclosed, that prior to her incident Defendant was aware of numerous allegations of
sexual misconduct involving Weinstein. Upon information and belief, the allegations of sexual
misconduct involving Weinstein that Defendant was aware of were subject to nondisclosure
agreements and/or confidential settlements, and were otherwise only known inside TWC. Upon
information and belief, the nondisclosure agreements and/or confidential settlements legally
prohibited Defendant TWC, Weinstein, and the victims of the sexual misconduct from
discussing the allegations and Defendant’s knowledge thereof. As such, even if Plaintiff had
conducted a timely and reasonable investigation, she could not have discovered Defendant’s
prior knowledge of Weinstein’s sexual misconduct. Plaintiff was unable to discover
Defendant’s knowledge of Weinstein’s propensity to engage in sexual misconduct until the
story of Weinstein’s pattern of sexual misconduct with young actresses broke in October 2017.

COUNT I
(Negligence)

15. Plaintiff repeats and realleges the allegations in paragraphs 1 through 14 above.

_. 16. At all relevant times, Defendant owed a duty to use reasonable care in the
=
retention and supervision of its employee Harvey Weinstein.
a
> <4 -

he CIVIL COMPLAINT
ml

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

17. This included a duty to control Weinstein in his interactions with women duiing
meetings taking place within the course and scope of his employment in order to prevent
foreseeable harm.

18. Prior to the sexual misconduct with Plaintiff, Defendant knew or had reason to
believe Weinstein was likely to engage in sexual misconduct with women he came into contact
with during the course and scope of his employment. In particular, upon information and belief,
Defendant knew or should have known that Weinstein would lure young aspiring actresses into
compromising situations under the guise of business meetings. Prior to the incident involving
Plaintiff, Defendant’s Board of Directors possessed knowledge of Weinstein’s propensity to
engage in sexual misconduct. Knowledge of Weinstein’s propensity to engage in sexual
misconduct was additionally possessed by Defendant’s executives, officers and employees. At
all relevant times Defendant’s Board of Directors maintained a supervisory position over
Weinstein.

19. By possessing knowledge of Weinstein’s prior sexual misconduct, Defendant
knew or should have known that Weinstein was unfit and that this unfitness created a particular
risk to others.

20. Defendant did not act in a reasonable manner by failing to terminate Weinstein
and instead continued to allow him to meet with prospective actresses in private areas with the
knowledge that there was a substantial likelihood for sexual misconduct.

21. _Weinstein’s meeting with Plaintiff at the Peninsula hotel occurred within the
course and scope of his employment. The contact between Plaintiff and Weinstein was
generated by the employment relationship between Defendant and Weinstein.

>
re
< -5 -

— CIVIL COMPLAINT
“rol

 

ASE 2:18-cv-06012-SVW-4gigW Document 1-2. Filed 07/1011 gg ave 6of13 Page ID4

 

10
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

HSe 2:18-cv-06012-SVW yg Document 1-2. Filed 07/2011 ig ae 7 of 13 ‘Page ID #4

22. Defendant’s negligence in supervising and/or retaining Weinstein was a
substantial factor in causing Plaintiff's harm.

23. It was foreseeable that Weinstein would engage in sexual misconduct if
Defendant continued to allow Weinstein to have private business meetings with actresses. At
all relevant times, Defendant knew Weinstein was using his power and position to coerce
women into engaging in sexual contact and knew that this sexual misconduct would cause
harm.

24. Defendant failed to institute corrective measures to protect women coming into
contact with Weinstein, including Plaintiff, from sexual misconduct despite the Board of
Directors possessing actual notice of Weinstein’s sexually inappropriate behavior. Such acts and
omissions demonstrate a conscious disregard of the safety of others. The Board of Directors was
aware of the probable dangerous consequences of failing to remove or adequately supervise
Weinstein. In failing to do so, Defendant acted with actual malice and with conscious disregard
to Plaintiffs safety.

25. As a direct and proximate result of Defendant’s negligence, Plaintiff was a
victim of Weinstein’s sexual misconduct. The sexual misconduct has caused Plaintiff to suffer

continuing, severe and permanent psychological and emotional issues, and the loss of

 

enjoyment of life.
PRAYER FOR RELIEF
26. General damages in an amount to be shown according to proof at the time of
trial.
27. Special damages including medical and psychological care expenses in an

amount-fo be shown according to proof at the time of trial.

ond

ed
wo.

nh -6-
= CIVIL COMPLAINT
mad

 

44

 
23

24
25
26
27
28

 

se 2:18-Cv-06012-SVW-lg@W Document 1-2. Filed 07/10/1 age 8 of 13 Page ID #:
|

28. Punitive and exemplary damages in an amount appropriate to punish or set an
example of Defendant.
29. Costs of suit.

30. Such other and further relief as this Court deems just and proper.

DEMAND FOR JURY TRIAL

Plaintiff hereby demands a jury trial in this action.

 

 

 

dellis@hermanlaw.com

Arick Fudali

California Bar No. 296364
afudali@hermanlaw.com

Jeff Herman

(pending pro hac vice admission)
Attorneys for Plaintiff

-7T-
CIVIL COMPLAINT.

to
=
no
fe
No
fac)
te
oral

 

 

12
Case 2:18-cv- 06012- SVW W_ Document 1-2 | Filed 07/10/1 age 9 of 13 Page IDet690

 

 

ATTORNEY OR PARTY WITHOUT ATTORNEY f number, and address): FOR COURT USE ONLY
Daniel G itis, Esq., CA Bar No. 39

HERMAN LAW suite $40 fornia
5200 Town enter Circle, uite 54 , rt of Califo
Boca Raton, Florida 33486 Superior whats Angeles

TecepHonE No: (305) 931-2200 raxwo; (305) 931-0877
ATTORNEY FOR (Nemey: Dominique Huett, Plaintiff OCT 24 2011
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles .
street aooress: |] ] North Hill Street SherrL2-¢ {Clerk
MAILING ADORESS: Deputy
crry aio zp cove: Los Angeles, CA 90012 By, Gomez
BRANCH NAME: Staley Atcck Courthouse
CASE NAME:
Dominique Huett v. The Weinstein Company LLC

CIVIL CASE COVER SHEET Complex Case Designation casenBER ELH OUG6OY9
Unlimited CJ Limited LC Counter ] Joinder

{Amount (Amount ” ; JUDGE.
demanded demanded Is Filed with first appearance by defendant
exceeds $25,000) $25,000 or less) (Cal, Rules of Court, rule 3.402) DEPT;
items 1-6 below must be completed (see instructions on page 2).
4. Check one box below for the case type that best describes this case:

 

 

 

 

 

 

 

 

Auto Tort Contract Provisionatly Complex Civil Litigation
Auto (22) [__] Breach of contractwarranty (06) (Cal. Rules of Court, rules 3.400-3.403)
Uninsured motorist (46) C] Rule 3.740 collections (09) [_] Antitrus/Trade regulation (03)
Other PHPDIWD (Personal Injury/Property C_] Other collections (09) L_] Construction defect (10)
Damage/Wrongful Death) Tort [) Insurance coverage (18) [] Mass tort (40)
Asbestos (04) Other contract (37) (_] secunties iitigation (28)
Product liability (24) Real Property [__] Environmental/Toxie tort (30)
Medical malpractice (45) [J Eminent domain/inverse [7] insurance coverage claims arising from the
Other PYPO/WD (23) condemnation (14) above listed provisionally complex case
-Non-PYPD/WD (Other) Tort [] Wrongfut eviction (33) types (41)
Business torVunfair business practice (07) CL] otner reat property (26) Enforcement of Judgment
[J] civit rights (aa) Untawtul Detainer [1] Enforcement of judgment (20)
[__] Defamation (13) Commercial (31) Miscellaneous Civil Complaint
L_} Fraud (16) (J Residentias (32) [-) rico (27)
C1 ntellectual property (19) CJ Drugs (38) Cc) Other complaint {not specified above) (42)
(_] Professional negligence (25) Judicial Review Miscellaneous Civil Petition

 

 

Other non-PYPDMD tort (35) Asset forfeiture (05) Partnership and corporate governance (21)
Employment | (J Petition re: arbitration award (11) [_] other petition {not specified above) (43)
Eq Wrongful termination (36) C Writ of mandate (02)

CI Other employment (15) tJ Other judicial review (39)

 

2. This case L_] is isnot complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
factors requiring exceptional judicial management:

a. | Large number of separately represented parties d, Cc] Large number of witnesses

b. i Extensive motion practice raising difficultor novel —e. CT] Coordination with related actions pending in one or more courts
issues that will be time-consuming to resoive in other counties, states, or countries, or ina federal court
c._] Substantial amount of documentary evidence f. L_] substantial postjudgment judicial supervision

Remedies sought (check all that apply): aly] monetary b._] nonmonetary; declaratory or injunctive relief —c. (Zfpunitive
Number of causes of action (specify):

This case [7] is Lv Jisnot aclass action suit.
If there are any known related cases, file and serve a notice of related case. (You npay u.

Date: October 24, 2017
Daniel G. Ellis >
(TYPE OR PRINT NAME)  {SIGNATUREAOF PARTY OR ATTORNEY FOR PARTY)
NOTICE /

« Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
under the Probate Code, Family Code, or Welfare and Institutions Code), (Cal. Rules of Court, rule 3.220.) Failure to file may result
in sanctions:

* File this cover sheet in addition to any cover sheet required by local court rule.

® If this cases complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
other parti Ss ‘to the action or proceeding.

* Unless this.js a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.

 

MARY

  

forg CM-015.)

 

 

 

 

 

tof]
Forn Adopted for Mai ory Use Cal, Rules of Court, rules 2 30, 3.220, 3.400-3.403,.3.740;
Judickal Council of rigor CIVIL CASE COVER SHEET Cal. Standards of Judicial Administration, std..3.10
CM-010 [Rev. July's 1%. 2007) www.courtinio.ca:gov

FAX FILE
Cage 2:18-cv-06012-SVW-NgW Document 1-2 Filed 07/10/18 age 10 of 13 Page ID #:14

 

SHORT TITLE:

 

_, Dominique Huett v. The Weinstein Company LLC case nee BE 68 : 8 5 3

 

 

‘CIVIL CASE COVER SHEET ADDENDUM AND " 7

- if
oil
Woy
mole
i
I

STATEMENT OF LOCATION i
’ (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

 

 

This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court

 

7
I
i

Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in

Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

 

 

 

 

|
|
»
ae
Step 2: In Column B, check the box for the type of action that best describes the nature of the case. ! =
| . . . 4. | x
Step 3: In Column C, circle the number which explains the reason for the court filing location you have |
chosen. ta
Applicable Reasons for Choosing Court Filing Location (Column C) /
\
I
. Class actions must be filed in the Stanley Mosk Courthouse, Central District. 7. Location where petitioner resides. |

. Permissive filing in central district.

. Location where cause of action arose.

fF WHY =

5. Location where performance required or defendant resides.

. Mandatory personal injury filing in North District.

6. Location of property or permanently garaged vehicle.

8. Location wherein defendant/respondent functions wholly.
9. Location where one or more of the parties reside. i

10. Location of Labor Commissioner Office.

11. Mandatory filing location (Hub Cases — unlawful detainer, limited
non-collection, limited collection, or personal injury). |

ly

 

 

 

 

 

 

 

 

 

 

 

 

Auto (22) O A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death 1,4, 14

il

ot -
Ss H
a ec Uninsured Motorist (46) QO A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist | 1, 4, 14
7 ®

O A6070 Asbestos Property Damage 1,111

Asbestos (04) i

> O A7221 Asbestos - Personal Injury/Wrongful Death 1,144
t 5 a
5 =
e i|

o < Product Liability (24) QO A7260 Product Liability (not asbestos or toxic/environmental) 1,4, 11
= :
co O) A7210 Medical Malpractice - Physicians & Surgeons 1,4, 11
23 . : |
c= Medical Malpractice (45) 14.44
= > O A7240 Other Professional Health Care Malpractice my
Oo . ‘
eS
2 = O A7250 Premises Liability (e.g., slip and fall) .'
a Other Personal : 140
. = Injury Property O A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g., 14 44
s & Damage Wrongful assault, vandalism, etc.) i
Oo
jo» Death (23) [1 7270 Intentional Infliction of Emotional Distress 14m

© (4 A7220 Other Personal Injury/Property Damage/Wrongful Death 1,4, 7

= T

re

“ee {

ne i

Dp i

te uf

LACIV 109 (Rev 2/46) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.3

LASC Approved 03-04

AND STATEMENT OF LOCATION Pang of 4

I

 

 

 
Case 2:16-0v-06012-SVW- gg Document 1-2 Filed 07/10/18 giage 11 of 13

Page ID #:15

 

 

SHORT TITLE:

, Dominique Huett v. The Weinstein Company LLC

« ae
1

CASE NUMBER

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Business Tort (07) © A6029 Other Commercial/Business Tort (not fraud/breach of contract) 1,2,3 |
>t 7
5 2 Civil Rights (08) 0 A6005 Civil Rights/Discrimination 1,2,3 1,
os : -
—- ©
ao. a Defamation (13) O A6010 Defamation (slander/libel) 1,2,3
33 :
£2 Fraud (16) QO A6013 Fraud (no contract) 1,2,3. |
= 5 :
5s |
o> O A6017 Legal Malpractice 1,2,3
2D Professional Negligence (25) 4
Oo. = O A6050 Other Professional Malpractice (not medical or legal) 1,2,3 ‘
5 oa “
za . {|
Other (35) © A6025 Other Non-Personal Injury/Property Damage tort 1,2,3 i
< Wrongful Termination (36) O A6037 Wrongful Termination 1,2,3 I;
o U!
E 1
o 0 A6024 Other Employment Complaint Case 1,2,3 |
a Other Employment (15) ; i
& O A6109 Labor Commissioner Appeals 10 i
hi
O A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful 25
eviction) , I
Breach of Contract/ Warran : if
(06) y QO A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence) 2,5 I
{not insurance) O A6019 Negligent Breach of Contract/Warranty (no fraud) 1.25 i
C A6028 Other Breach of Contract/Warranty (not fraud or negligence) 12,5 |)
3S Q A6002 Collections Case-Seller Plaintiff 5, 6, 11 i
s Collections (09) 4
5 O A6012 Other Promissory Note/Collections Case 5,11 l
eo O A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt 5, 6, 11 fi
Purchased on or after January 1, 2014) 4
i
Insurance Coverage (18) O A6015 Insurance Coverage (not complex) 1, 2,5, 8
, 7
O A6009 Contractual Fraud 1, 2, 3, 5)
Other Contract (37) 0 A6031 Tortious Interference : 1, 2, 3, 5!
O A6027 Other Contract Dispute(not breach/insurance/fraud/negligence) 1, 2, 3, 8!'9
u
Eminent Domain/Inverse . . . i
Condemnation (14) O A7300 Eminent Domain/Condemnation Number of parcels 2,6 i:
& i
zg Wrongful Eviction (33) O A6023 Wrongful Eviction Case 2,6 \!
oO it
a q
3 O A6018 Mortgage Foreclosure 2,6 t
a Other Real Property (26) C1 A6032 Quiet Title 2,6 |
C) A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure) | 2,6 }
i Untawful Ny O A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction) 6, 11 i
ow i
Cc A
3 eleenedr aie O A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction) 6, 11 |
3 = f
3 Uflawtul Detainer- . i
on 0 A6020F Unlawful Detainer-Post-Foreclosure 2,6,11 |
z Post-Foreclosure (34) i
fo |
5 Unlawful Detainer-Drugs (38) | @ A6022 Unlawful Detainer-Drugs 2, 6, 11 i
INST !
2
LACIV 109 (Rev 2/16) CIVIL CASE COVER SHEET ADDENDUM "Local Rule 2.3

LASC Approved 03-04

AND

STATEMENT OF LOCATION

\
Page 2 of 4

 

 
Case eteov copra swig” “Document 1-2 Filed 07/10/18 gage 12 of 13

Page ID #:16

 

 

SHORT TITLE:

Dominique Huett v. The Weinstein Company LLC

CASE NUMBER

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Asset Forfeiture (05) O A6108 Asset Forfeiture Case 2,3,6 *
li
> Petition re Arbitration (11) DO A6115 Petition to Compel/Confirm/Vacate Arbitration 2,5 i
h
= i:
oe O A6151 Writ - Administrative Mandamus 2,8 \
Ss Writ of Mandate (02) O A6152 Writ - Mandamus on Limited Court Case Matter 2 '
3 CO A6153 Writ - Other Limited Court Case Review 2 ;
Other Judicial Review (39) O A6150 Other Writ /Judicial Review 2,8 i
Hl
< Antitrust/Trade Regulation (03) |  A6003 Antitrust/Trade Regulation 1,2,8 /
3 -
Ss i
S Construction Defect (10) QO A6007 Construction Defect 1,2,3 4
= : =
: .
3 Claims Mey | A6006 Claims Involving Mass Tort 12,8 |
=
E
3 Securities Litigation (28) O A6035 Securities Litigation Case 1,2,8
2 i
2 Toxic Tort . . if
& \
s Environmental (30) QO A6036 Toxic Tort/Environmental 1, 2, 3, a
2
° Insurance Coverage Claims . 4
aw from Complex Case (41) 0 A6014 Insurance Coverage/Subrogation (complex case only) 1,2, 5, |
OC A6141 Sister State Judgment 2,5, 11
2 O A6160 Abstract of Judgment 2,6 k
c i;
E E Enforcement QO A6107 Confession of Judgment (non-domestic relations) 2,9 ‘
2 3 of Judgment (20) O A6140 Administrative Agency Award (not unpaid taxes) 2,8 1
= 7 1
i ‘oS O A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax 2,8
|
O A6112 Other Enforcement of Judgment Case 2,8,9
RICO (27) O A6033 Racketeering (RICO) Case 1,2,8 h
wn 2
a £ f
8 8 (O A6030 Declaratory Relief Only 1, 2,8 k
c 2 }
= 8 Other Complaints O A6040 Injunctive Relief Only (not domestic/harassment) 2,8 F
a = (Not Specified Above) (42) | 6011 Other Commercial Complaint Case (non-tort/non-complex) 1,2,8 7
Ss 2
oO O A6000 Other Civil Complaint (non-tort/non-complex) 1,2,8
vt
Partnership Corporation . H
Governance (21) O A6113 Partnership and Corporate Governance Case 12,8 j
q
O A6121 Civil Harassment 2,3,9 i
3 2 O A6123 Workplace Harassment 2,3,9
os il
c= O A6124 Elder/Dependent Adult Abuse Case 2,3,9 |
=e Other Petitions (Not P " i
3 = Specified Above) (43) O18 A6190 Election Contest 2 i
2 2 4
=o 0 A6110 Petition for Change of Name/Change of Gender 27 4
, \y
o O A6170 Petition for Relief from Late Claim Law 2,3,8 ! /
ts ( A6100 Other Civil Petition i
i 2,9 \
vr i
© 4
@ "
LACIV 109 (Rev 2/16)! CIVIL CASE COVER SHEET ADDENDUM Local Rule'2.3

LASC Approved 03-04

AND

 

STATEMENT OF LOCATION

Page 3 of 4
I

'

 
. Case 2:18-0v-06012-SVW- Ng Document 1-2 Filed 07/10/18 gage 13 of 13 Page ID #:17

 

SHORT TITLE:

 

“ Dominique Huett v. The Weinstein Company LLC

CASE NUMBER

 

 

 

Step 4: Statement of Reason and Address: Check the appropriate boxes for the nurnbers shown under Column C.for the
type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
(No address required for class action cases).

*

 

REASON:

01.02.03.04.05.06.07. 08.6 9.010.%11.

ADORESS:
9882 S. Santa Monica Boulevard

 

 

 

 

 

 

 

CITY: t STATE: ZIP CODE::
Beverly Hills CA 90212
Step 5: Certification of Assignment: | certify that this case is properly filed in the Central District of

 

the Superior Court of California, County of Los Angeles [Code Civ. Proc.; §392 et seq., and Local Rule ’2.3(a)(1)(E)).

Dated: October 24, 2017

 

  

o ” a
Qicpxfure ix MEVIFILING PARTY)

 

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY

COMMENCE YOUR:NEW COURT CASE:

Original Complaint or Petition.

if filing a Complaint, a completed Summons form for issuance by the Clerk.

1.
2
3. Civil Case Gover Sheet, Judicial Council form CM-010.
4

Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.

02/16).

a

Payment in full of the filing fee, unléss there is court order for waiver, partial or schéduléd payments.

A signed order appointing the Guardian. ad Litem, Judicial Council form CIV-010; if the plaintiff of petitioner is a
minof under 18 years of age will be required by Court in order to issue a summons.

7. ‘Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addehdum
must be served along with the summons and complaint, or other initiating pleading in the case.

PRCA OT

 

‘LACIV 109 (Rev 2136) } CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.3
LASC. Approved 03,04 AND STATEMENT OF LOCATION Page 4 of 4
